    Case: 1:20-cv-06911 Document #: 38 Filed: 03/12/21 Page 1 of 1 PageID #:173

        U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                        ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good
standing of this Court’s general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83.12 through 83.14.


In the Matter of                                                   CASE NUMBER: 20-cv-6911

Benjamin George,

                    v.

City of Chicago, et. al.

AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
Sergio Corona and Solomon Ing

 NAME (Type or print)
 Nicholas J. Perrone
 SIGNATURE (Use electronic signature if the appearance form is filed electronically)
 /s/ Nicholas J. Perrone
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 ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE?                            YES           NO

 ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE?                           YES           NO

 ARE YOU A MEMBER OF THIS COURT’S TRIAL BAR?                             YES           NO

 IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY?
                                                     YES      NO

 IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR
 STATUS.
 RETAINED COUNSEL            APPOINTED COUNSEL
